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 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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11 KAILEY MIXON, an individual,            ) CASE NO.: 2:19!cv!09306!JLS!SK
                                           )
12                Plaintiff,               )
                                           ) ORDER
13         vs.                             )
                                           )
14                                         )
     MICHAEL GERARD FLANAGAN, an )
15   individual; and DOES 1-10, inclusive, )
                                           )
16                Defendants.              )
                                           )
17
             TO ALL PARTIES HEREIN:
18
             Based upon the stipulation of the parties, IT IS HEREBY ORDERED that the
19
     above-captioned case is hereby dismissed in its entirety with prejudice.
20
             IT IS SO ORDERED.
21

22
     DATED:            September 18, 2020
23

24
                                        By:      /S/ JOSEPHINE L. STATON
25                                            JUDGE OF THE U.S. DISTRICT COURT
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     2:19-cv-09306-JLS-SK                       1    ORDER
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